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From:             Wedade Abdallah
To:               Elizabeth Bonilla
Subject:          FW: Mattice aunt letter
Date:             Tuesday, October 12, 2021 1:11:45 PM




From: Ashley Choate <achoate068@gmail.com>
Sent: Tuesday, October 12, 2021 11:08 AM
To: Wedade Abdallah <Wedade_Abdallah@fd.org>
Subject: Mattice aunt letter

Rebecca A. Every-Keller
Aunt of Cody J. Mattice
144 Trimmer Rd.
Hilton, NY 14468
585-789-7852
becka roo81 yahoo.com

To Whom It May Concern,

My name is Rebecca A. Evert-Keller. I am Cody J. Mattice's Aunt. When Cody was born, I
became an aunt for the first time. He and I have always been extremely close, and I have a
special bond with him.

I am writing this letter to offer a better understanding, and a more complete picture of who
Cody is as a person. Cody has always been a devoted and loving member of our close-knit
family. He is humorous and always puts a smile on my face, and makes me laugh. He has a
fun loving personality where anyone who meets him wants to get to know him more. Cody is a
light that shines so bright! He is a one of a kind father, and is very affectionate and loving to
his children. Cody also stays at home to watch his children while his fianc Ashley works in
the health field. Cody is extremely active with his children, as he is a family man. He also
helps his grandfather with anything that needs to be done on our property.

I personally would like to ask you if you could please allow Cody to come home on house
incarceration until his trial. It would be greatly appreciated, and very beneficial to our family.
Thank you for your time.

Sincerely,
Rebecca A. Evert-Keller
